Case 2:08-cv-01021-PSG-RC Document 9-29 Filed 02/19/08 Pagelof2 Page ID #:266

EXHIBIT BB
Case 2:08-cv-01021-PSG-RC Document 9-29 Filed 02/19/08 Page 2of2 Page ID #:267

AMERICAN CO TRACTORS INDEM.WWITY COMPANY

All Papers and notices may be served at BOND NO.
AMERICAN CONTRACTORS INDEMNITY COMPANY
9841 AIRPORT BLVD, 9! FLOOR, LOS ANGELES, CA 90045

IN THE SUPERIOR COURT OF THE ‘ VATE OF CALIFORNIA REE LED
IN AND FOR COUNTY OF 0 elg.¢ = au
ig f LOS ANGELES SUPERIGR COURT

IN THE MATTER OF
The Teniportny Congeruaforch io of FEB 01 2008
Case Number : Bp 08870

[Fiona upon Qualifying [_] Additional Bond

Brine ean Spears

Premium 250
Per Annum

KNOWN ALL MEN BY, THESE PRESENTS:

That we, «mec FP. Spears
as Principal, and the AMERICAN CONTRACTORS INDEMNITY COMPANY as Surety, are held and firmly bound

unto. The Above. Vimed Contarvalee
in the sum of Fifty Thous Ghd f Wf 50 Dollars ($ N99 )

. v - + . . .
for which payment, well and truly be made, we bind ourselves, our heirs, executors, successors, and assigns jointly and severally,

firmly by these presents.
THE CONDITION OF THE ABOVE OBLIGATION IS SUCH THAT,
WHEREAS, an order was duly made and entered by the Superior Court of the State of California, for the County of

of Angels _on___ February | 2.008
MAppointing the Ybove Principal, ‘Tem rary Conger itor fo
the estate of Cteney seq rn Spear
(_] Directing the said Principal to execute art additional bond according to law in the sum above named.

of

NOW, THEREFORE, if the said Principal shall faithfully execute the duties of the trust according to law, then this obligation
shall be void, otherwise,to remain in full force and effect.

Signed and dated at “Yt AANA Oke 0 Kec Aalifornia on _1 / Buf OK

(Place) TJ o™ ? foe ag

Gite

=a

As Principal As Principal

As Principal

AMERICAN CONTRACTORS INDEMNITY COMPANY

IN A | ESS WHEREOF, The corporate seal and name of said Surety Company is hereto affixed and attested by
A Qgnso Lu (AN) , who declares under penalty of perjury t e is duly authorized Attorney-in-Fact
acting under an unrevoke® power of attorney on file with the Clerk of the Countyin above entitled Court is located.

f loys Ly a b Attorney-in-Fact

By:

